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UNITED STATES DEPARTMENT OF AGRICULTURE
BEFORE THE SECRETARY
Docket No. 11-0180
Inre: COREY LEA,COREY LEA INC.,
START YOUR DREAM INC., and
COWTOWN FOUNDATION, INC.,’
Petitioners
DECISION AND ORDER DISMISSING PETITION

I. Procedural History

On March 31, 2011, Corey Lea (Petitioner)? filed a petition for a hearing before the
Office of the Office of Administrative Law Judges (OALJ) for the United States Department of
Agriculture (Secretary; USDA) regarding the denial of complaints of discrimination that he had
filed with USDA’s Office of the Assistant Secretary for Civil Rights (OASCR). Ina Decision
issued March 25, 2010, OASCR dismissed Petitioner’s complaints, which alleged that he had
been discriminated against by USDA’s Farm Service Agency (F SA). Petitioner invoked the
Administrative Procedures Act (APA), 5 U.S.C. §551, et seq., as authority for OALIJ to conduct
the requested hearing and review of the OASCR’s determinations.

In an amended petition filed on April 18, 2011, Petitioner asserted that his request for a
hearing was permitted by the APA because OASCR failed to issue a final determination within

180 days of his complaint of May 1, 2008. Petitioner further asserted that as a member of the

class addressed in the Consent Decree and subsequent rulings in the matter of Pigford et al v.

17 have amended the original caption of this case to include the additionally named petitioning parties.
? Throughout this Decision and Order “Petitioner” refers to Corey Lea, whose pleadings variably identified himself
as “Plaintiff”, “Complainant” and “Petitioner”.

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Dan Glickman, Secretary, United States Department of Agriculture’, he has standing to request a

hearing in the denial of his complaints.

On April 25, 2011, OASCR filed a response asserting that OALJ had no authority to
conduct a hearing or otherwise assume jurisdiction over Petitioner’s complaints. OASCR moved
for dismissal of Petitioner’s petitions for a hearing.

On May 2, 2011, duplicated on May 9, 2011, Petitioner filed a memorandum opposing
the dismissal of his request for a hearing before OALJ. In addition, Petitioner filed an
administrative tort claim for property damage and personal injury, requesting relief in the amount
of $10,000,000.

On May 9, 2011, Petitioner moved to supplement his statement of jurisdiction to assert
that OALJ has jurisdiction to hold a hearing in the instant matter pursuant to Section 741 and 7
C.F.R. §15f et seq.

On May 19, 2011, Petitioner filed another document titled “Original Complaint”, which
included additionally named “Petitioners’”. Additional claims of discrimination were alleged.

II. Issues

1. Whether Petitioners are entitled to a hearing before OALJ regarding the Secretary’s

dismissal of complaints of discrimination;

2. Whether OALJ has authority to order USDA to disclose information and provide

documents to Petitioners pursuant to the Freedom Of Information Act (FOIA), 5

U.S.C.§552.

3185 F.R.D. 82 (D.D.C. 1999); 206 F.3d 1212 (D.C. Cir. 2000); 127 F. Supp. 2" 35 (2001).
4 Hereafter, all references to “Petitioners” shall be construed to include all individuals named as Complainant,
Petitioner or Plaintiff in the pleadings filed with OALJ.

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3. Whether OALJ has authority to determine whether Petitioners are entitled to damages
for property damage and personal injury pursuant to the Torts Claim Act (FTCA), 28
U.S.C. §1346(b).

Il. Factual History

1. Background

Two class-action lawsuits filed in 1997 and 1998 alleged that the USDA had
discriminated against African-American farmers on the basis of race. The cases were
consolidated and settled in 1999 by a consent decree (Decree) entered on April 14, 1999 by the
Honorable Paul Friedman of the U.S. District Court for the District of Columbia. 185 F.R.D. 92
(1999). The Decree certified a class of individuals defined generally as all African-American
farmers who farmed or attempted to farm between January 1, 1981 and December 31, 1996; who
had applied to USDA for federal farm credit or benefits; and who believed that they were
discriminated against and had filed a discrimination complaint on or before July 1, 1997.

To be eligible for relief under the Decree, individuals were required to comply with filing
procedures, meet time limitations, and provide certain evidence. The Decree allowed individuals
to choose between two separate tracks of relief, and an individual’s choice of remedy was
“irrevocable and exclusive”. See, Decree at Paragraph 5(d). In addition, individuals who
otherwise qualified for relief but failed to timely file a complete claim could petition the Court
for an extension of time if extraordinary circumstances prevented compliance with the time
limitations. Individuals also had the right to opt out of the class and pursue relief on an
individual basis.

The Decree further provided that individuals who had not filed a discrimination

complaint until after July 1, 1997 would be entitled to relief if they could establish that they had

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attempted to pursue a remedy but filed defective pleadings; or failed to file a timely complaint in
reliance upon inducement by USDA officials; or were prevented from filing a timely complaint
due to extraordinary circumstances. Under the terms of the Decree, USDA was enjoined from
pursuing foreclosure actions against class members. In addition, all members who established
discrimination were entitled to priority consideration of their applications for credit for up to five
years after the entry of the Decree.

Because many potentially eligible class members did not timely file their claims under
the Decree, Section 14012 of the 2008 Farm Bill provided class members with a new right to sue
in federal district court, or in the alternative, the right to seek an expedited review based upon the
remedies set forth in the Decree. All lawsuits filed under the auspices of the 2008 Farm Bill

have been consolidated into one case, In re Black Farmers Discrimination Litigation, 08-mc-

0511 (D.D.C.), which is pending before Judge Friedman. In addition, Judge Friedman ordered
USDA to establish a neutral website to provide information regarding these claims, and the
address for the site is as follows:

http://Awww.blackfarmercase.com/index.php?option=com content&view=article&id=52&Itemid

=58. The website posts a list of all lawsuits now consolidated before Judge Friedman. The list
does not include a suit filed by any of the Petitioners in the instant matter.

2. Petitioners’ Allegations

In the first petition before OALJ, Petitioner asserted that he filed complaints of
discrimination that charged FSA with willful and erroneous devaluation of his property on

appraisal. Petitioner alleged that his property was foreclosed in violation of the Decree’s cease

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and desist Order®. Petitioner further charged FSA with violations of FOIA and requested an
order directing USDA to disclose records.

In his amended complaint before OALJ, Petitioner again alleged that the appraisal
method used by FSA with respect to his property and the foreclosure action taken against his
property represented violations of civil rights law.

In another “Original Complaint” that identified additional Petitioners, it was alleged that
FSA employees engaged in discriminatory acts concerning applications for federal financial
assistance. Petitioners sought remedies in tort for property loss and personal injury.

IV. DISCUSSION

I find it appropriate to consolidate all of the petitions and causes of action for disposition

in the instant Decision and Order.

1. OALJ Lacks Jurisdiction to Hold a Hearing to Review Petitioners’ Complaints of
Discrimination

Part 15d of 7 C.F.R. sets forth the nondiscrimination policy of USDA regarding programs
or activities in which agencies of USDA provide benefits directly to persons, and establishes the
process for administrative review of complaints of discrimination. 7 C.F.R. §15d.1. Individuals
who believe that they have been subjected to discrimination on the grounds of race, color,
religion, sex, age, national origin, marital status, familial status, sexual orientation, disability, or
financial status may file a written complaint with the Director of the Office of Civil Rights,
USDA, within 180 calendar days from the date of the discrimination. 7 C.F.R. §§15d.2, and 4
(a) and (b). The Director is authorized to investigate complaints and make final determinations
as to the merits of the complaint and to order corrective actions arising from the complaints. 7

CER. $154.4 (b).

> Though Petitioner does not specifically refer to the Decree, I infer as much from his pleadings and references.

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Petitioners’ complaints fall within the scope of Part 15d, as their allegations of
discrimination concern eligibility for farm loans and intentional discriminatory practices by FSA
employees. The prevailing regulations do not provide the right to a hearing regarding the
OASCR’s conclusions, as the rules specifically state that the Office of Civil Rights “will make
final determinations as to the merits of complaints. . and as to the corrective actions required to
resolve program complaints.” 7 C.F.R. §15d.4(b). Congress may authorize agencies to
promulgate such regulations deemed necessary to implement a statute. U.S. Const., Article I,
Section 8, Clause 18. In the instant circumstances, USDA’s regulations specifically vest the
OASCR with authority to make the final determination regarding complaints of program
discrimination.

Petitioners argue that the APA requires a hearing before the OALJ because their
complaints were not decided within 180 days.° Petitioners cite no statutory provision of the
APA that supports their right to a hearing before USDA’s OALJ. Moreover, the prevailing
regulations concerning complaints of discrimination place no limitation on the time it takes
USDA to process a complaint. 7 C-F.R. Part 15d.

Section 741

Petitioners assert that they are entitled to a hearing under Section 741, enabled by
regulations set forth at 7 C.F R. Part 15f. The regulatory scheme provides procedures for
processing certain complaints of discrimination that were filed with USDA prior to July 1, 1997,
and the regulations authorize OALI to hear complaints of discrimination; however the rule states

that

6 OASCR has surmised that Petitioner relies upon rules controlling the processing of complaints of alleged
employment discrimination by USDA. Since “180 days” is a hallmark period that triggers appeals and tolls the
period for filing complaints of discrimination in many programs covered by USDA regulations, | decline to engage
in similar speculation.

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if at any time the ALJ determines that your complaint is not an eligible complaint,

he or she may dismiss your complaint with a final determination and USDA

review of your complaint will then have been completed.

7 CF.R.§ISf.12.

Petitioners’ complaints were filed, by Petitioners’ admissions, on or about May 1, 2008
and involve alleged acts of discrimination occurring after July 1,1997. See, all pleadings of
Petitioners. Accordingly, Petitioners’ complaints were not filed, either actually or
constructively, with USDA prior to July 1, 1997, and they are not eligible complaints under
Section 741. Therefore, OALJ’s sole authority under Section 741 is to dismiss the petitions for a
hearing, and OASCR’s determinations in the complaints constitute the final agency
determinations. 7 C.F.R. §15f.12.

7 C.F.R. Part 15 Subparts A and C

Some of Petitioners’ allegations may be construed to fall within the auspices of USDA’s
regulations implementing title VI of the Civil Rights Act of 1964 (“the Act”), as the complaints
ostensibly involve guaranteed loans.’ Part 15 Subpart A prohibits discrimination against a
participant in a USDA-assisted program or activity’. 7 C.F.R. §15.3. However, the rules that
apply to discrimination in federal financial assistance programs do not automatically provide
Petitioners with the right to a hearing. The regulations authorize the OASCR to determine the
manner in which complaints under this Subpart shall be investigated, and whether remedial
action is warranted. 7 C.F.R. §15.6. The regulations specifically allow applicants or recipients
to request a hearing before OALJ if the applicant or recipient is adversely affected by an Order

of the Secretary suspending, terminating, or refusing to continue Federal financial assistance; and

7 have credited Petitioner’s undocumented references to foreclosure by “a Bank” with “the permission” of USDA

officials and the United States Attorney’s Office.
8 “Program” and “activity” are described at 7 C.F.R. § 15.2(k)(1)-(4) and a list of Federal Financial Assistance from

USDA is set forth at Appendix A to Subpart A of Part 15.
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the Secretary subsequently denies a request to restore eligibility for the assistance. 7 C.F.R. §$
15.8(c); 10(f); 10(g); Subpart C. There is no evidence of a specific Order by the Secretary
suspending or terminating Federal financial assistance to Petitioners, or an Order by the
Secretary refusing to continue or grant the same. Similarly, there is no evidence that Petitioners
requested the Secretary to restore their eligibility for assistance, which is the event that triggers
the right to a hearing. Accordingly, Petitioners are not entitled to a hearing under §§ 15.09 and
15.10.

Authority of Secretary to Delegate Responsibility for Final Determination

In addition, the regulations empower the Secretary to assign responsibilities to other
agencies to effectuate the purposes of the Act. 7 C.F.R. §15.12 (c). As OASCR has moved for
dismissal of Petitioners’ complaints with OALJ, it is axiomatic that the complaints were not
referred to OALJ for a hearing and Petitioners have no right to a hearing pursuant to §15. 12(c).

Administrative Procedures Act

Petitioners refer to the APA as the authorizing statute for OALJ’s jurisdiction, but fail to
state with any specificity how the APA vests OALJ with statutory or regulatory jurisdiction. The
APA provides a framework for agencies to follow to assure due process in adjudicatory
proceedings, but the statute allows broad latitude to agencies to establish their own procedures
within that framework. See, 5 U.S.C. §554. The right to a hearing under the APA exists only so
long as another statute provides for such right. 5 U.S.C. §551 et seq. USDA has promulgated
regulations governing adjudications before OALJ where prevailing statues require a hearing on
the record. Petitioners’ request for a hearing does not involve any of those statutes, which are
enumerated at 7 C.F.R. § 1.131. Absent specific statutory authority, the APA does not vest

OAL with jurisdiction to hold a hearing in Petitioners’ complaints.

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Consent Decree and Section 1402 of the Farm Act of 2008

In the instant matter, Petitioner asserts that he was among the class members covered by
the Consent Decree between African-American farmers and the USDA, which was further
addressed by the Farm Act of 2008. However, the record does not demonstrate that Petitioner
meets the criteria for class membership. The Decree provided remedies to individuals who did
not file a discrimination complaint until after July 1, 1997 if they could establish the pre-
requisites discussed infra., supra. Petitioner admits that his complaints were filed in 2008, well
past the time anticipated by the Decree, and nine years after the Decree was entered. Moreover,
Petitioners cannot establish that they would have filed a complaint within the period
encompassed by the Decree, as the events underlying their allegations of discrimination also
occurred years after the Decree’s timeframe. In addition, since the Farm Bill of 2008 addressed
additional methods for processing complaints covered by the Decree, Petitioners’ complaints are
not covered by that legislation.

Moreover, even if any of the Petitioners could establish membership in the class affected
by the Decree and the Farm Bill of 2008, a complaint would need to be filed in federal district
court, and not before the USDA OALJ. See, Section 14012 of the 2008 Farm Bill. Accordingly,
the Decree and Farm Bill of 2008 do not provide OALJ with jurisdiction to hear Petitioners’
complaints.

2. Tort Claims and Claims of Fraud

Petitioners seek remedies in tort for alleged actions by employees of USDA. Under the
common law doctrine of sovereign immunity, “the United States cannot be sued without its

consent.” Federal Housing Administration v. Burr, 309 U.S. 242, 244 (1940). “Congress alone

has the power to waive or qualify that immunity.” United States v. Chemical Foundation, Inc.,

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272. U.S. 1, 20 (1926). In 1946, Congress enacted the Federal Tort Claims Act (FTCA), 28
U.S.C. §1346(b), waiving sovereign immunity for some tort suits and making the United States
liable for injury to or loss of property, or personal injury or death, caused by the negligent or
wrongful act or omission of any employee of the government while acting within the scope of his
office or employment. 28 U.S.C. § 1346(b); §§2671-2680.

Prior to filing suit under the FTCA, a claimant must present his claim to the federal
agency out of whose activities the claim arises (28 U.S.C. § 2675) within two years after the

claim accrues (28 U.S.C. § 2401). McNeil v. United States, 508 U.S. 106 (1993); United States v.

Kubrick, 444 U.S. 111, 120 (1979). Petitioners have filed with OALJ what purports to be an
administrative claim and complaint for damages relating to allegations of loss of property and
personal injury. Pursuant to 7 C.F.R. §2.31(a), the General Counsel for the USDA is delegated
the authority to consider, ascertain, adjust, determine, compromise, and settle claims brought under
the FTCA. OALJ has no authority to review or adjudicate such claims, and accordingly, they shall
be dismissed.

3. Requests for information under FOIA

Agencies of the Federal Government are required to disclose documents after receiving a
request under FOIA, unless those documents are protected from disclosure by one of nine
exemptions. 5 U.S.C. §552(a): §552(b)(1)-(9). When an agency fails to disclose requested
information or fails to respond within the statutory time limitations’ the requester may file a suit
in federal district court. 5 U.S.C. 552(a)(4)(B).

Petitioners request OALJ to order USDA’s compliance with FOIA requests. Since the

statute clearly grants jurisdiction over disputes involving requests for information to federal

” See, 5 U.S.C. § 552(a)(6)(A)(i).
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district court, OALJ is deprived of jurisdiction to adjudicate Petitioners’ assertions regarding
compliance with FOIA.
V. CONCLUSION

I find that OALJ is without jurisdiction to grant Petitioners’ request for a hearing
regarding the Secretary’s denial of complaints of discrimination. OALJ also does not have
jurisdiction to consider Petitioners’ claims under the FTCA and FOIA. Accordingly, I find that
Petitioners’ request for a hearing should be dismissed.

ORDER
Petitioners’ petitions for a hearing are hereby DISMISSED.

So ORDERED this day of May, 2011 in Washington, D.C.

Janice K. Bullard
Administrative Law Judge

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